Case 9:18-cv-81219-DMM Document 36 Entered on FLSD Docket 11/28/2018 Page 1 of 1



                             UN ITED STATES DISTRICT COURT
                             SO UTHERN D ISTRICT OF FLO RIDA

                            Case N o.18-81219-CV -M IDD LEBRO O K S

   M ITCH VELA SCO ,derivatively on behalfofA D T lN C.,

         Plaintiff,



   TIM OTH Y J.W HA LL,eta1.,

         Defendanta.


                                   O RDER CLOSING CASE

         TH IS CA U SE com es before the Court on Plaintiff's N otice of Voluntary D ism issal

   withoutPrejudice,tiled November26,2018. (DE 35). Ptlrsuantto Rule 41(a)ofthe Federal
   Rules of CivilProcedlzre,a plaintiff m ay voluntarily dism iss an action by tiling a notice of

   dismissalbeforetheopposingparty serveseitheranansweroramotion forsummaryjudgment.
   SeeFed.R.Civ.P.41(a)(1)(A)(i).Defendantshaveservedneither.Accordingly,itis
          O R DER ED A N D A D JUD G E D that this case is D ISM ISSED W ITH O UT

   PREJUDICE. The Clerk of Court shall CLOSE THIS CASE. A11 pending m otions are

   D ENIED A S M O O T.
          DONE AND ORDERED in Chambers,atW estPa Beac                    lorida,this Z Z day of
   N ovem ber,2018.                                        ,
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                                                       J
                                                       .




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                                                  UN ITED STA TES D ISTRICT JU D GE

   Cc;    CounselofRecord
